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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

FTX TRADING LTD., et al., 1                                      Case No. 22-11068 (KBO)

                                         Debtors.                (Jointly Administered)
                                                                 Hearing Date: July 22, 2025 at 9:30 a.m. (ET)
                                                                 Objection Deadline: July 15, 2025 at 4:00 p.m. (ET)



     MOTION OF THE FTX RECOVERY TRUST FOR ENTRY OF AN ORDER IN
    SUPPORT OF THE CONFIRMED PLAN AUTHORIZING THE FTX RECOVERY
     TRUST TO IMPLEMENT THE RESTRICTED JURISDICTION PROCEDURES
           IN POTENTIALLY RESTRICTED FOREIGN JURISDICTIONS

                 The FTX Recovery Trust 2 hereby submits this motion (this “Motion”) for entry of

an order, substantially in the form attached hereto as Exhibit A (the “Order”), pursuant to sections

105(a) and 1142(b) of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy

Code”) and rule 3020(d) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

authorizing the FTX Recovery Trust to implement the Restricted Jurisdiction Procedures (as

defined below) in Restricted Foreign Jurisdictions (as defined below). In support of this Motion,

the FTX Recovery Trust respectfully states as follows:

                                            Preliminary Statement

                 1.        FTX’s infamous prepetition business activities violated cryptocurrency-


1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
    4063, respectively. Due to the large number of debtor entities in these Chapter 11 cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX.

2
    The FTX Recovery Trust (a/k/a the Consolidated Wind Down Trust) was established on January 3, 2025, the
    effective date of the Debtors’ confirmed Second Amended Joint Chapter 11 Plan of Reorganization of FTX
    Trading Ltd. and its Debtor Affiliates [D.I. 26404-1] (the “Plan”). Capitalized terms used but not otherwise
    defined herein shall have the meanings ascribed to them in the Plan.
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related laws and regulations in various countries around the world, often flagrantly. Today, certain

creditors of the FTX Recovery Trust reside in jurisdictions that continue to have laws and

regulations that restrict cryptocurrency transactions. The collection of potentially applicable non-

U.S. laws and regulations is daunting. Some of the cryptocurrency restrictions are issued as formal

regulations, while others appear as “warning statements,” 3 notices issued by central banks, 4 and

rules promulgated by financial or other governmental agencies. Distributions made by or on behalf

of the FTX Recovery Trust into jurisdictions in violation of these legal restrictions may trigger

fines and penalties, including personal liability for directors and officers, and/or criminal penalties

up to and including imprisonment. 5 Such adverse actions could put the Plan Administrator,

officers and directors of the FTX Recovery Trust at risk, and also could entangle the FTX Recovery

Trust in litigation or foreign legal proceedings at significant expense to stakeholders.

                 2.       The FTX Recovery Trust has surveyed applicable laws and regulations

around the world and is prepared to make distributions in compliance with law to residents in

countries where the vast majority of FTX creditors reside. However, the FTX Recovery Trust has

identified a list of countries with respect to which the FTX Recovery Trust has not yet been able

to confirm whether the FTX Recovery Trust, or its retained distribution service providers

(“DSPs”), may legally make distributions to residents. There are currently 49 jurisdictions on this

list, representing approximately 5% of the projected total value of potentially Allowed Claims.

The FTX Recovery Trust continues to make efforts to reduce the number of countries on this list

of jurisdictions and may remove jurisdictions if the legal situation is clarified. The current list of


3
    A Warning Statement, CENTRAL BANK OF EGYPT, https://perma.cc/3X6D-WFEG.
4
    NEPAL RASTRA BANK, https://perma.cc/2US7-KMCE.
5
    Basic Law, 2015-26 (2015) (Tunis.). See also, La Rédac', #sayeb_digital : En 2021, les autorités tunisiennes
    confondent cryptomonnaie et blanchiment d’argent !, TUNISIE.FR (May 10, 2021) (describing a 17-year-old
    boy’s arrest in Tunisia in 2021 for using cryptocurrency in an online activity), https://perma.cc/XGR8-T3BH.


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these jurisdictions is identified on Exhibit B (as the list may be amended or supplemented, the

“Potentially Restricted Foreign Jurisdictions”).

               3.      While the FTX Recovery Trust generally uses DSPs to make distributions

to creditors, the distributions made by the DSPs on its behalf create two primary concerns: (i) that

the FTX Recovery Trust could be held civilly or criminally liable for violating local laws by paying

resident creditors from the proceeds of what is deemed to be illegal activity in jurisdictions where

trading in cryptocurrency is or was not permitted; and (ii) that the FTX Recovery Trust could be

held civilly or criminally liable for violating (or aiding and abetting a violation of) local laws

through the actions of the DSPs as its agents.

               4.      To address these issues, the FTX Recovery Trust proposes to implement the

procedures described herein (the “Restricted Jurisdiction Procedures”), which the FTX Recovery

Trust submits strike an appropriate balance between ensuring that, wherever possible, creditors

receive their distributions under the Plan while minimizing the risk that the FTX Recovery Trust

violates applicable law. Specifically, if at any time there exist unresolved concerns about a

Potentially Restricted Foreign Jurisdiction, the FTX Recovery Trust will retain a qualified attorney

in the relevant Potentially Restricted Foreign Jurisdiction to deliver a formal legal opinion (each,

an “Opinion”) addressing whether distributions pursuant to the Plan on account of Allowed Claims

are permitted to be made to residents or depositories in such Potentially Restricted Foreign

Jurisdiction in compliance with applicable law. If the FTX Recovery Trust receives an Acceptable

Opinion (as defined below) stating that distributions in such Potentially Restricted Foreign

Jurisdictions are permitted, the FTX Recovery Trust will proceed to make distributions to creditors

who reside in such jurisdictions in accordance with the Plan.

               5.      If the FTX Recovery Trust does not receive an Acceptable Opinion, the




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FTX Recovery Trust shall notify each creditor in the applicable Potentially Restricted Foreign

Jurisdiction that it did not receive an Acceptable Opinion and that the FTX Recovery Trust will

request this Court to issue an order determining that the affected jurisdiction shall be deemed a

“Restricted Foreign Jurisdiction.” Affected creditors will have the opportunity to challenge the

designation of a jurisdiction as a Restricted Foreign Jurisdiction.

                 6.       If no affected creditor contests the designation or the Court overrules

creditor objections, the designation of a jurisdiction as a Restricted Foreign Jurisdiction as of the

record date for any Distribution will preclude the FTX Recovery Trust from making such

Distribution to a Holder of a Claim in such Restricted Foreign Jurisdiction. Distributions that

cannot be made due to the illegality of doing so under the laws of a Restricted Foreign Jurisdiction

will not be made and any interest in such Distribution shall revest in the FTX Recovery Trust.

More specifically, if upon completion of the Pre-Distribution Requirements set forth in Section

7.14 of the Plan and establishment of an account with any applicable DSP, a Holder of a Claim

(whether Disputed or Allowed) is determined by the FTX Recovery Trust to be a resident of a

Restricted Foreign Jurisdiction, then the applicable Distribution and associated interest shall be

forfeited. 6

                 7.       The FTX Recovery Trust submits that proceeding in this manner is

necessary and appropriate, in the best interests of creditors legally permitted to receive

Distributions, and consistent with the confirmed and effective Plan.




6
    The FTX Recovery Trust’s determination of residency for this purpose will be based on the information
    submitted by the Holder of the Claim which is to receive a Distribution, whether an original or secondary
    Holder.



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                                           Background

               8.      On November 11 and November 14, 2022, FTX Trading Ltd. (“FTX”) and

its affiliated debtors and debtors-in-possession (collectively, the “Debtors”) filed with the United

States Bankruptcy Court for the District of Delaware (the “Court”) voluntary petitions for relief

under Chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”).

               9.      On October 7, 2024, the Court confirmed the Second Amended Joint

Chapter 11 Plan of Reorganization of FTX Trading Ltd. and Its Debtor Affiliates [D.I. 26404-1],

and on October 8, 2024, entered the Findings of Fact, Conclusions of Law and Order Confirming

the Second Amended Joint Chapter 11 Plan of Reorganization of FTX Trading Ltd. and Its Debtor

Affiliates [D.I. 26404] (the “Confirmation Order”).

               10.     On January 3, 2025, the Effective Date occurred, which, among other

things, established the FTX Recovery Trust and transferred, assigned, and vested all of the

Debtors’ assets in the FTX Recovery Trust. See Notice of Effective Date of the Second Amended

Joint Chapter 11 Plan of Reorganization of FTX Trading Ltd. and Its Debtor Affiliates [D.I.

29127].

                             Facts Specific to the Relief Requested

               11.     The FTX Recovery Trust has identified creditors holding approximately 5%

by value of potentially Allowed Claims that reside in the Potentially Restricted Foreign

Jurisdictions. Of the total number of Potentially Restricted Foreign Jurisdictions, 82% of the value

of affected asserted claims are in China. The FTX Recovery Trust assembled the list of Potentially

Restricted Foreign Jurisdictions based on the risk that distributions into those jurisdictions could

violate applicable law and thus require further evaluation and local law advice. As a result, the

FTX Recovery Trust is holding Distributions to residents in those Potentially Restricted Foreign




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Jurisdictions as Disputed Claims pending resolution of this issue. The FTX Recovery Trust may

clear some but not all of the Potentially Restricted Foreign Jurisdictions as the process progresses.

                12.     The regulations of concern in the Potentially Restricted Foreign

Jurisdictions vary, but generally prohibit a person or entity from engaging in any activity related

to digital assets, including trading in cryptocurrency or paying the proceeds of cryptocurrency to

residents in the jurisdiction. For example, in Macau, “financial institutions and non-bank payment

institutions are prohibited explicitly by Mainland authorities from providing services for these

tokens and virtual currencies.” 7 In Moldova, it is a criminal offense to engage in “the activity of

providing services regarding virtual assets … on the territory of the Republic of Moldova,

including in cases where this activity is auxiliary/supplementary to the main activity.” 8 Similar

restrictions exist in the other Potentially Restricted Foreign Jurisdictions, all of which create

uncertainty for the FTX Recovery Trust.

                13.     To protect the FTX Recovery Trust and prevent Plan Distributions from

being made to residents of, or into accounts located in, Potentially Restricted Foreign Jurisdictions

in violation of applicable law, the FTX Recovery Trust has developed the following supplemental

Restricted Jurisdiction Procedures to address any jurisdiction where the FTX Recovery Trust’s

concerns, in its reasonable business judgment, remain unresolved:

                (a)   The FTX Recovery Trust shall retain a qualified attorney in the relevant
                      Potentially Restricted Foreign Jurisdiction to opine on whether distributions
                      pursuant to the Plan on account of Allowed Claims violate applicable local
                      law.

                (b)   In the event a qualified attorney retained by the FTX Recovery Trust delivers
7
    Alert to Risks of Virtual Commodities and Tokens, MONETARY AUTHORITY OF MACAO (Sep. 27, 2017, 3:20 PM),
    https://www.gov.mo/en/news/74177/.
8
    Law No. 66 of 30-03-2023, REPUBLIC OF MOLDOVA,
    https://www.legis.md/cautare/getResults?doc_id=136851&lang=ro. See also, Contravention Code no.
    218/2008 art. 263 para. 9 (Mold.); Criminal Code no. 985/2002 art. 241 para. 1 (Mold.).



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         written advice in form and substance reasonably acceptable to the FTX
         Recovery Trust stating that distributions to residents of the Potentially
         Restricted Foreign Jurisdiction as contemplated by the Plan and the DSP
         arrangements are permitted without exception or qualification and fully
         comply with applicable laws related to the payment by the FTX Recovery
         Trust or the DSAs, and receipt by the creditor or its agents (such opinion, an
         “Acceptable Opinion”), the FTX Recovery Trust shall proceed to make
         Distributions to Holders of Allowed Claims (or Disputed Claims that later
         become Allowed) resident in such jurisdiction in accordance with the Plan,
         provided, however, that if at any time a regulator or policing authority in a
         jurisdiction notifies the FTX Recovery Trust of a potential violation of
         applicable law (a “Violation Notice”), such notification shall be conclusive
         evidence that a jurisdiction is a Restricted Foreign Jurisdiction.

  (c)    In the event a qualified attorney retained by the FTX Recovery Trust delivers
         written advice concerning Distributions to residents in the Potentially
         Restricted Foreign Jurisdiction other than an Acceptable Opinion (an
         “Unacceptable Opinion”), the following procedures shall apply:

         i.    The FTX Recovery Trust shall be authorized and will consider Claims
               in Potentially Restricted Foreign Jurisdictions as Disputed Claims and
               treat those Claims as Disputed Claims until such time as the status of
               the Potentially Restricted Foreign Jurisdiction is resolved and the
               Claim is otherwise Allowed or disallowed.

        ii.    The FTX Recovery Trust shall file on the docket of the Chapter 11
               Cases and use commercially reasonable efforts to send a notice to the
               Holders of Claims who reside in the applicable Potentially Restricted
               Foreign Jurisdiction (the “Restricted Jurisdiction Notice”) containing,
               at a minimum: (i) the applicable Potentially Restricted Foreign
               Jurisdiction; (ii) the Unacceptable Opinion or a summary thereof; and
               (iii) the deadline (the “Objection Deadline”) by which creditors may
               object to the FTX Recovery Trust’s determination reflected in the
               Restricted Jurisdiction Notice, which Objection Deadline shall be not
               less than 45 days following the FTX Recovery Trust serving the
               Restricted Jurisdiction Notice. Any objection must include a sworn
               statement waiving service of process related to any related discovery
               and subjecting the creditor and its qualified legal representatives (if
               any) to the jurisdiction of the Court for purposes of the objection and
               related matters. For the avoidance of doubt, the FTX Recovery Trust
               shall be deemed to have satisfied their use of commercially reasonable
               efforts by mailing the Restricted Jurisdiction Notice to the last known
               address of record known to the FTX Recovery Trust’s claims agent,
               Kroll Restructuring Administration LLC (the “Claims Agent”), and/or
               emailing such notice to the last known email address of record known
               to the Claims Agent.



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                     iii.      If a creditor residing in a Potentially Restricted Foreign Jurisdiction
                               properly and timely objects in writing to the FTX Recovery Trust’s
                               determination as reflected in the Restricted Jurisdiction Notice by the
                               Objection Deadline, the FTX Recovery Trust shall hold and not forfeit
                               all distributions to the applicable Potentially Restricted Foreign
                               Jurisdiction until (a) such objection is resolved or (b) further order of
                               the Court following a hearing as to the reasonableness of the FTX
                               Recovery Trust’s determination.

                     iv.       Following receipt of a Violation Notice, expiration of the Objection
                               Deadline with no objections received, or upon resolution of any timely
                               filed objection to the Restricted Jurisdiction Notice with respect to a
                               Potentially Restricted Foreign Jurisdiction, the FTX Recovery Trust
                               will present to the Court an order designating the jurisdiction a
                               Restricted Foreign Jurisdiction.

                      v.       If a jurisdiction is designated and continues to be a Restricted Foreign
                               Jurisdiction on any Distribution Record Date, such designation shall
                               alter Distributions with respect to Disputed or Allowed Claims if a
                               Holder of a Claim is determined by the FTX Recovery Trust to be a
                               resident of a Restricted Foreign Jurisdiction upon completion of the
                               Pre-Distribution Requirements set forth in Section 7.14 of the Plan and
                               establishment of an account with any applicable DSP, then that
                               Distribution and associated interest shall be immediately forfeited and
                               revert to the FTX Recovery Trust.

               (d)     All time periods set forth in these Restricted Jurisdiction Procedures shall be
                       calculated in accordance with Bankruptcy Rule 9006.

               14.          The FTX Recovery Trust submits that the Restricted Jurisdiction

Procedures are reasonable and designed to prevent the FTX Recovery Trust from making

distributions to residents of Restricted Foreign Jurisdictions in violation of applicable law, while

ensuring that creditors in such jurisdictions have ample notice regarding the designation of a

Restricted Foreign Jurisdiction and an opportunity to object to that designation. The Restricted

Jurisdiction Procedures are consistent with the Plan, will protect the Plan Administrator and the

directors and officers of the FTX Recovery Trust, will avoid potential liability, and will maximize

value for the benefit of all of the FTX Recovery Trust’s stakeholders.




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                                            Jurisdiction

                 15.   The Court has jurisdiction to consider this Motion pursuant to section 12.1

of the Plan, paragraphs 88 and 132 of the Confirmation Order, 28 U.S.C. §§ 157 and 1334, and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012. This matter is a core proceeding pursuant to 28 U.S.C.

§ 157(b). Venue is proper in the Court pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory

predicates for the relief requested herein are sections 105(a) and 1142(b) of the Bankruptcy Code

and rule 3020(d) of the Bankruptcy Rules. Pursuant to rule 9013-1(f) of the Local Rules, the FTX

Recovery Trust consents to the entry of a final order or judgment by the Court in connection with

this Motion to the extent it is later determined that the Court, absent consent of the parties, cannot

enter final orders or judgments consistent with Article III of the United States Constitution.

                                         Relief Requested

                 16.   By this Motion, the FTX Recovery Trust requests entry of the Order,

substantially in the form attached hereto as Exhibit A, authorizing the FTX Recovery Trust to

implement the Restricted Jurisdiction Procedures, as necessary, in Potentially Restricted Foreign

Jurisdictions.

                                          Basis for Relief

   A.    The Restricted Jurisdiction Procedures Are Necessary to Fully Implement the
         Plan.

                 17.   Currently, the FTX Recovery Trust and those acting on its behalf, including

the Plan Administrator, trustees and officers, are in the untenable situation where they cannot

authorize Distributions commence in the Potentially Restricted Foreign Jurisdictions without risk

of civil and criminal penalties that would harm all stakeholders, but also cannot withhold

indefinitely those Distributions without resolution of their status for purposes of the Plan.



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               18.     To provide clarity to the FTX Recovery Trust and its stakeholders alike, the

FTX Recovery Trust has developed the Restricted Jurisdiction Procedures to provide notice and a

process for resolving the question of whether Distributions will be made pursuant to the Plan in a

Potentially Restricted Foreign Jurisdiction.    The Court’s consideration and approval of the

Restricted Jurisdiction Procedures is consistent with, and in furtherance of, implementation of the

Plan.

               19.     This Court’s Confirmation Order provides that “[p]ursuant to section

1142(b) of the Bankruptcy Code, the Debtors and the Wind Down Entities hereby are authorized

and empowered to take all actions to execute, deliver, file or record such contracts, instruments,

releases and other agreements or documents, and take such actions as may be necessary or

appropriate to effectuate and implement the provisions of the Plan.” (Confirmation Order ¶ 135.)

               20.     Furthermore, the Restricted Jurisdiction Procedures fall squarely within the

general authority granted to the FTX Recovery Trust to facilitate distributions and implement the

most important provisions of the Plan. Distributions to residents of Potentially Restricted Foreign

Jurisdictions may trigger fines and other penalties that may be ultimately borne by the FTX

Recovery Trust, resulting in decreased payouts to all creditors. The FTX Recovery Trust might

also find itself enmeshed in various foreign legal proceedings that do not recognize this Court’s

orders, wasting the FTX Recovery Trust’s resources and further depleting its funds. The Restricted

Jurisdiction Procedures are narrowly tailored to prevent the FTX Recovery Trust from running

afoul of applicable law and help streamline the FTX Recovery Trust’s efforts to ensure timely,

lawful distributions to creditors entitled to receive them, while also providing holds of claims in

those jurisdictions an opportunity to object or provide an alternative method for receiving

distributions in permitted jurisdictions.




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               21.     Authorizing the implementation of the Restricted Jurisdiction Procedures is

consistent with the Court’s broad authority, pursuant to section 1142(b) of the Bankruptcy Code,

to issue orders necessary to implement the provisions of the Plan. See 11 U.S.C. § 1142(b) (“[t]he

court may direct the debtor and any other necessary party . . . to perform any other act . . . that is

necessary for the consummation of the plan.”); see also In re Chateaugay Corp. v. Back, 201 B.R.

48, 66 (Bankr. S.D.N.Y. 1996) (noting that “[t]he clear intent of Section 1142(b) of the Bankruptcy

Code is to assure that the terms and provisions of a confirmed chapter 11 plan are carried out until

the plan is completed and the final decree is entered closing the case.”); Binder v. Price

Waterhouse & Co., LLP (In re Resorts Int’l, Inc.), 372 F.3d 154, 165 (3d Cir. 2004) (noting that

section 1142(b) “assumes that post-confirmation jurisdiction exists for disputes concerning the

consummation of a confirmed plan” and that 28 U.S.C. § 1334 “remains the source of this

jurisdiction”). Collier on Bankruptcy notes that section 1142(b) allows courts to compel parties to

take actions “considerably broader than merely ministerial acts” and that the court may issue any

order “necessary for the implementation of the plan.” 16 Collier on Bankruptcy ¶ 1142.03[1] (16th

ed. 2019).

               22.     Bankruptcy Rule 3020(d), which provides that, “[n]otwithstanding the entry

of an order of confirmation, the court may issue any other order necessary to administer the estate,”

provides further authority for the Court to authorize the implementation of the Restricted

Jurisdiction Procedures. See, e.g., In re TE Holdcorp, LLC, 2021 Bankr. LEXIS 1301, *13-14

(Bankr. D. Del. May 14, 2021) (“[t]he power the Court retains under Bankruptcy Rule 3020(d) is

parallel to the Court’s power under Bankruptcy Code Section 1142(b).”); see also In re Resorts

Int’l, Inc., 372 F.3d 154, 165 (3d Cir. 2004) (“[p]ost-confirmation jurisdiction is assumed by

statute and rule: 11 U.S.C. § 1142(b) . . . and Fed. R. Bankr. P. 3020 . . .”); In re Schwinn Bicycle




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Co., 210 B.R. 747, 762 (Bankr. N.D. Ill.), aff’d sub nom. Schwinn Cycling & Fitness Inc. v.

Benonis, 217 B.R. 790 (N.D. Ill. 1997) (noting that Bankruptcy Rule 3020(d) “can also be read in

conjunction with 11 U.S.C. § 105(a), and the foregoing discussion of authority thereunder to

protect the bankruptcy estate, to include authority to protect execution of the Plan or distribution

of the estate.”).

                23.    Moreover, Section 105(a) of the Bankruptcy Code provides the Court with

supplemental authority to effectuate the overall policy objectives of the Bankruptcy Code, which

include making distributions lawfully pursuant to a plan of reorganization. See 11 U.S.C. § 105(a)

(“[t]he Court may issue any order, process, or judgment that is necessary or appropriate to carry

out the provisions of this title.”); see also In re Morristown & Erie R. Co., 885 F.2d 98, 100 (3d

Cir. 1989) (“[s]ection 105(a) gives the court general equitable powers, but only insofar as those

powers are applied in a manner consistent with the Code.”); In re Jorgensen, 66 B.R. 104, 108

(9th Cir. BAP 1986) (“[t]he court under §§ 105(a) and 1142(b) can make necessary orders to carry

out the provisions of the plan.”).

                24.    Courts have used the powers granted to them under sections 105(a) and

1142(b) of the Bankruptcy Code and Bankruptcy Rule 3020(d) to, among other things, enforce

plan provisions and to cure omissions in a confirmed plan. See, e.g., In re Intermet Corp., 2009

Bankr. LEXIS 2613, *10 (Bankr. D. Del. Sept. 2, 2009) (because sections 105 and 1142(b) provide

the court with “broad authority to order parties to comply with reorganization plans,” the court

directed parties to implement confirmed contingency plan provisions); see also In re NorthWestern

Corp., 372 B.R. 684, 687 (D. Del. 2007) (holding that the Bankruptcy Court’s order curing an

omission in the confirmed plan was consistent with its authority under Section 105 of the

Bankruptcy Code and Bankruptcy Rule 3020(d).)




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                 25.   For the avoidance of doubt, the Court explicitly retained post-confirmation

jurisdiction pursuant to sections 105(a) and 1142 of the Bankruptcy Code in the Confirmation

Order. (See Confirmation Order ¶¶ 88, 132 (“[n]otwithstanding the entry of this Confirmation

Order and the occurrence of the Effective Date, the Court shall retain its existing jurisdiction over

all matters arising out of, or related to, these Chapter 11 Cases and the Plan pursuant to sections

105(a) and 1142 of the Bankruptcy Code.”); see also Plan § 12.1.)

    B.      The Restricted Jurisdiction Procedures Are Consistent with the Pre-Distribution
            Requirements Provisions in the Plan.

                 26.   Section 7.14 of the Plan provides that in order to receive a Distribution,

Holders of Claims must complete by the applicable Distribution Record Date certain Pre-

Distribution Requirements, including the delivery of know-your-customer information. (Plan

§ 7.14.) That provision provides that if the Holder of a Claim entitled to receive any Distribution

fails to provide the necessary information at the end of the aggregate 90-day period, such “Holder

shall be deemed to have forfeited its right to receive Distributions” made prior to the Plan

Administrator’s receipt of the information and such forfeited Distributions revest in the FTX

Recovery Trust. (Id.) The Plan also provides that “all Holders of Claims or Interests receiving

Distributions pursuant to the Plan and all other parties-in-interest shall, from time to time, prepare,

execute and deliver any agreements or documents and take any other actions as may be necessary

or advisable to effectuate the provisions and intent of the Plan or the Confirmation Order.” (Plan

§ 13.2.).

                 27.   Consistent with this architecture, the Restricted Jurisdiction Procedures as

applied to those Holders of Disputed or Allowed Claims who are determined by the FTX Recovery

Trust to be residents of a Restricted Foreign Jurisdiction upon completion of the Pre-Distribution

Requirements and establishment of an account with any applicable DSP likewise results in the



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forfeiture of any Distributions. Creditors are further protected by having an opportunity to

challenge the designation of a jurisdiction as a Restricted Foreign Jurisdiction prior to the Court

doing so.

               28.     The FTX Recovery Trust must not violate applicable law by distributing to

residents of jurisdictions that do not permit it, or into accounts located in prohibited jurisdictions.

Thus, as a practical matter, providing a process by which jurisdictions can be designated a

Restricted Foreign Jurisdiction and Distributions earmarked for residents of such jurisdictions

revest in the FTX Recovery Trust for distribution through the Plan waterfall is warranted and a

valid exercise of authority granted to the FTX Recovery Trust.

                                               Notice

               29.     Notice of this Motion has been provided to: (a) the U.S. Trustee; (b) the

Securities and Exchange Commission; (c) the Internal Revenue Service; (d) the United States

Department of Justice; (e) the United States Attorney for the District of Delaware; and (f) those

parties requesting notice pursuant to rule 2002 of the Federal Rules of Bankruptcy Procedure. The

FTX Recovery Trust submits that, in light of the nature of the relief requested, no other or further

notice need be provided.

                                             Conclusion

               For the foregoing reasons, the Court should enter the Order, substantially in the

form attached hereto as Exhibit A, authorizing the FTX Recovery Trust to implement the

Restricted Jurisdiction Procedures in Restricted Foreign Jurisdictions.




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Dated: July 2, 2025             LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                /s/ Matthew R. Pierce
                                Adam G. Landis (No. 3407)
                                Kimberly A. Brown (No. 5138)
                                Matthew R. Pierce (No. 5946)
                                919 Market Street, Suite 1800
                                Wilmington, Delaware 19801
                                Telephone: (302) 467-4400
                                Facsimile: (302) 467-4450
                                E-mail: landis@lrclaw.com
                                        brown@lrclaw.com
                                        pierce@lrclaw.com

                                -and-

                                SULLIVAN & CROMWELL LLP
                                Andrew G. Dietderich (admitted pro hac vice)
                                James L. Bromley (admitted pro hac vice)
                                Brian D. Glueckstein (admitted pro hac vice)
                                Alexa J. Kranzley (admitted pro hac vice)
                                125 Broad Street
                                New York, New York 10004
                                Telephone: (212) 558-4000
                                Facsimile: (212) 558-3588
                                E-mail: dietdericha@sullcrom.com
                                        bromleyj@sullcrom.com
                                        gluecksteinb@sullcrom.com
                                        kranzleya@sullcrom.com

                                Counsel for the FTX Recovery Trust




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